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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
Hazim Nada and Lord Energy SA                       )
                                                    )
                                                    )
                                                    )
                                     Plaintiff      )        Civil Action No. 24-CV-00206
                       vs
                                                    )
The United Arab Emirates, et al.                    )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           Lord Energy SA
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           Lord Energy SA
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  There are no parent companies, affiliates, or companies which have any outstanding securities in
  the hands of the public.




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _______________________________________
                                                               Signature

  D.C. Bar No. 461964
________________________________________                       Thomas A. Clare, P.C.
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

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